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                                                September 24, 2024

       VIA ECF

       Honorable Stephanie A. Gallagher
       United States District Judge
       United States Courthouse
       101 West Lombard Street
       Baltimore, Maryland 21201

               Re:     United States v. Steen
                       Crim. No. 1:23-cr-00102- SAG

       Dear Judge Gallagher,

             Pursuant to your Order dated 9/24/2024, I am submitting (1) a proposed
       redacted Sentencing Memorandum, and (2) related redacted Letters of Support in the
       above-captioned case. In making these redactions, we have followed the guidance
       provided by Fed. R. Crim. P. 32 (d)(3) regarding the contents of presentence reports.

              As an initial observation, I note that as a matter of nationwide practice in the U.S.
       Probation Office, the entirety of Part C of Presentence Reports detailing a “Defendant
       Characteristics,” including Personal and Family Data is considered confidential and is
       not provided to the public or even the U.S. Sentencing Commission. Many Judges in the
       District make clear to defendants in both Rule 11 proceedings and at sentencing, that the
       personal information contained in Part C of a Presentence Report is confidential.
              In preparing the enclosed redacted sentencing memorandum and related
       redacted submissions, we have removed personal and family data that concerns persons
       not a party to this case, including sensitive information concerning the defendant’s
       family and children. See United States v. Cuevas, 2023 WL 6196142, at *1 (D. Nev.
       Sept. 22, 2023) (allowing for exclusion of sensitive “historical personal information” in a
       sentencing memorandum).
              With respect to a series of letters written in support of the defendant and a
       related video, these items were submitted to the defense under the express assurance
       that they would be sealed. Indeed, courts have recognized
               If letters such as these were routinely disclosed and made part of the public
               record, it may have a chilling effect and discourage the valuable input as to
               the character of the defendant and other relevant sentencing concern that
               would be garnered from the community during the sentencing process. . . The
               privacy expectations of citizens and the benefit of honest uninhibited
               commentary on sentencing issues far outweigh the need for public access to
               these letters.
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United States v. Lawrence, 167 F.Supp.2d 504, 507 (NDNY 2001); see also United
States v. Kravetz, 706 F.3d 47, 58 (1st Circ. 2013) (recognizing “a legitimate
concern that the routine disclosure of third- party letters may discourage valuable
input from the community during the sentencing process”); see also United States
v. Kushner, 349 F. Supp. 2d 892 (NDNY 2005) (“If a general policy of disclosure
were in place at the time of defendant’s guilty plea, it is quite likely that numerous
of the individuals who have written on his behalf would have declined to do so.”).

        The defense is aware of a letter submitted to the Court by Mr. Asher Lowy,
Executive Director of Zaakah, requesting the Court to prevent the sealing of the
defendant’s sentencing memorandum and above-referenced letters. (ECF 47). In
this letter, Zaakah asks the court

       “not to grant defendant’s motion [to seal] due to the extraordinary
       value of ensuring that the public knows which individuals –
       and in particular, which community leaders – will advocate for
       a convicted sex offender.”

ECF 47 at p.1. The letter goes on to explain that Zaakah wants the names of these
persons so that they can determine “whom they can trust.” ECF 47 at p.2. This is
precisely the recognized danger that the courts in Lawrence, Kravetz, and Kushner
sought to prevent.

       In any event, the defense recognizes that there is an interest in allowing the
public to determine the bases for a sentencing decision. Accordingly, we have
redacted the letters of support to remove identifying information. We submit that
such redaction reflects an acceptable balancing of the public’s interest versus the
need to encourage the open flow of information so critical to a defendant at
sentencing. See Kushner, 349 F.Supp. 2d at 901. (allowing content but redacting
authorship of a character letter reflected “a delicate balancing whereby privacy
concerns and the avoidance of even the remotest chilling effect appear to be
weighted quite heavily.”)

                                   Respectfully submitted,


                                   _____/s/_____________
                                   Andrew C. White
                                   Marc Zayon
                                   Counsel for William Zev Steen
